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    1                         UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
    2                              SOUTHERN DIVISION

    3      UNITED STATES OF AMERICA,

    4                   Plaintiff,

    5       v                                   No. 19-CR-20026-2

    6
           SURESH REDDY KANDALA,
    7
                      Defendant.
    8      _________________________/

    9
                                       PLEA HEARING
   10
                        BEFORE THE HONORABLE GERSHWIN A. DRAIN
   11                        UNITED STATES DISTRICT JUDGE
                        Theodore Levin United States Courthouse
   12                        231 West Lafayette Boulevard
                                  Detroit, Michigan
   13                           Wednesday, May 8, 2019

   14    APPEARANCES:

   15
           For the Plaintiff:           MR. RONALD WATERSTREET
   16                                   MR. TIMOTHY MCDONALD
                                        United States Attorney's Office
   17                                   211 West Fort Street, Suite 2001
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   19
           For the Defendant:           MR. EDWAR ZEINEH
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   21                                   Lansing, Michigan 48912
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   23    Reported by:                Merilyn J. Jones, RPR, CSR
                                     Official Federal Court Reporter
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   25
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         WITNESSES:    DEFENDANT
    4    None

    5    OTHER MATERIAL IN TRANSCRIPT:
         Proceedings                                                      3
    6
         EXHIBITS:                      Identified                   Received
    7    None

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    1                   Detroit, Michigan

    2                   Wednesday, May 8, 2019 - 11:04 a.m.

    3                   THE CASE MANAGER:     All rise.      The United States

    4    District Court for the Eastern District of Michigan is now in

    5    session.    The Honorable Gershwin A. Drain presiding.

    6                   You may be seated.

    7                   The court calls the criminal matter United States

    8    of America versus Suresh Reddy Kandala.           Case Number

    9    19-cr-20026-2.

   10                   Counsel, please state your appearances for the

   11    record.

   12                   MR. MCDONALD:     Good morning, your Honor.         Tim

   13    McDonald and Ron Waterstreet on behalf of the United States.

   14                   Also seated at the table is Homeland Security

   15    Investigation Special Agent Steve Weber.

   16                   THE COURT:    All right.       Good morning.

   17                   MR. ZEINEH:     Good morning, your Honor.        Attorney

   18    Edwar Zeineh on behalf of the defendant, Suresh Kandala, who is

   19    seated to my left.

   20                   THE COURT:    All right.       Good morning.

   21                   THE DEFENDANT:     Good morning.

   22                   THE COURT:    As I understand it, the defendant will

   23    be tendering a plea of guilty to the charge in the indictment;

   24    is that correct?

   25                   MR. ZEINEH:     That's an accurate statement, your
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    1    Honor.

    2                   THE COURT:    All right.       Then, you want to approach

    3    the podium, you and your client.

    4                   And, again, this is another case without a Rule 11

    5    Plea Agreement; is that correct?

    6                   MR. ZEINEH:     That's accurate, your Honor.

    7                   MR. MCDONALD:     That is accurate, your Honor.

    8    Although, we did offer the defendant a Rule 11.             He's rejected

    9    that and indicated he wanted to plead without a Rule 11

   10    Agreement.

   11                   THE COURT:    Okay.

   12                   MR. ZEINEH:     We can acknowledge that for the

   13    record, your Honor.      We did discuss that proposed Rule 11.            Did

   14    provide that to him.      We explained that, the parameters to him

   15    for which he rejected.

   16                   THE COURT:    Okay.

   17                   All right.    And so, I take it that your client

   18    doesn't have any problem with the English language?

   19                   MR. ZEINEH:     That is correct, your Honor.

   20                   THE COURT:    Okay.

   21                   All right.    So, is it, "Kandala"?

   22                   THE DEFENDANT:     Yes, sir.

   23                   THE COURT:    Okay.   Am I saying your name right?

   24                   THE DEFENDANT:     Yes, sir.

   25                   THE COURT:    Okay.   "Kandala".     Okay.
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    1                   All right.    Then, is it correct that you want to

    2    plead guilty to the charge in the indictment?

    3                   THE DEFENDANT:     Yes, sir.

    4                   THE COURT:    Okay.   All right.     I'm going to have

    5    my case manager give you an oath.

    6                   THE CASE MANAGER:     Raise your right hand.         Do you

    7    solemnly swear or affirm that the testimony you are about to

    8    give to the Court in this matter here pending shall be the

    9    truth, the whole truth, and nothing but the truth?

   10                   THE DEFENDANT:     Yes.

   11                   THE CASE MANAGER:     Please lower your hand.

   12                   Please state your full name for the record.

   13                   THE DEFENDANT:     Suresh Reddy Kandala.

   14                   THE COURT:    Okay.   All right.     Mr. Kandala, I'm

   15    going to ask you a lot of questions.          I'm required to do so

   16    under the court rules, and I know that your attorney has gone

   17    over all these matters with you, but, like I said, I'm required

   18    to cover them again here in court on the record.

   19                   So, do you understand that you are now under oath

   20    and if you answer any of my questions falsely, your answers may

   21    later be used against you in a separate charge for perjury or

   22    false statement; do you understand that?

   23                   THE DEFENDANT:     Yes, sir.

   24                   THE COURT:    And could you state your full name

   25    again for the record?
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    1                   THE DEFENDANT:     Suresh Reddy Kandala.

    2                   THE COURT:    And how old are you?

    3                   THE DEFENDANT:     Thirty-one.

    4                   THE COURT:    And how far did you go in school?

    5                   What kind of degree do you have?

    6                   THE DEFENDANT:     Master's Degree.

    7                   THE COURT:    You have a Master's Degree?

    8                   THE DEFENDANT:     Yes.

    9                   THE COURT:    Where did you get the degree from?

   10                   THE DEFENDANT:     First one is Northwestern --

   11                   THE COURT REPORTER:       I'm sorry.

   12                   THE DEFENDANT:     Northwestern Polytechnic

   13    University.

   14                   MR. ZEINEH:    The first one was Northwestern --

   15                   THE COURT:    Okay.

   16                   MR. ZEINEH:    Polytechnic --

   17                   THE DEFENDANT:     University.

   18                   MR. ZEINEH:    -- University.

   19                   THE COURT:    Okay.   All right.       So, you can read

   20    and write and understand everything that's being said so far

   21    here in court?

   22                   THE DEFENDANT:     Yes, sir, your Honor.

   23                   THE COURT:    And if you ever have a problem with

   24    any of the questions that I'm asking you, feel free to stop me

   25    and talk to your attorney about it, you understand that?
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    1                   THE DEFENDANT:     Yes, sir.

    2                   THE COURT:    All right.       And so have you been

    3    treated recently for any type of mental illness or addiction to

    4    narcotics or alcohol?

    5                   THE DEFENDANT:     No, your Honor.

    6                   THE COURT:    And are you currently under the

    7    influence of any drugs, medication, or alcoholic beverage?

    8                   THE DEFENDANT:     No, your Honor.

    9                   THE COURT:    And have you received a copy of the

   10    indictment that was returned against you?

   11                   THE DEFENDANT:     Yes, your Honor.

   12                   THE COURT:    And have you had your attorney answer

   13    any questions that you have related to the charge?

   14                   THE DEFENDANT:     Yes.

   15                   THE COURT:    Okay.   And he's been able to answer

   16    those questions for you?

   17                   THE DEFENDANT:     Yes, your Honor.

   18                   THE COURT:    Okay.   And are you satisfied with the

   19    advice and counsel you've received from him up to this point?

   20                   THE DEFENDANT:     Yes, your Honor.

   21                   THE COURT:    And so, do you understand that the

   22    normal maximum sentence for this offense is a sentence of up to

   23    five years in prison and a minimum sentence is a period of

   24    probation, you understand that?

   25                   THE DEFENDANT:     Yes, your Honor.
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    1                   THE COURT:    And the fine that I could impose is

    2    anywhere from zero up to $250,000; do you understand that?

    3                   THE DEFENDANT:     Yes, your Honor.

    4                   THE COURT:    And also do you understand that I am

    5    required to impose a special assessment in your case of $100,

    6    you understand that?

    7                   THE DEFENDANT:     Yes, your Honor.

    8                   THE COURT:    Additionally, with regard to the case,

    9    there's a period of supervised release that I could impose and

   10    that could be up to three years; do you understand that?

   11                   THE DEFENDANT:     Yes, your Honor.

   12                   THE COURT:    And so, do you feel like you

   13    understand the consequences of pleading guilty here so far?

   14                   THE DEFENDANT:     Yes, your Honor.

   15                   THE COURT:    Okay.      And has anyone forced you to

   16    plead guilty?

   17                   THE DEFENDANT:     No, your Honor.

   18                   THE COURT:    Has anyone threatened you and told you

   19    that you must plead guilty?

   20                   THE DEFENDANT:     No.

   21                   THE COURT:    And are you doing this freely and

   22    voluntarily?

   23                   THE DEFENDANT:     Yes, your Honor.

   24                   THE COURT:     And are you pleading guilty because

   25    you are guilty?
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    1                   THE DEFENDANT:     Yes, your Honor.

    2                   THE COURT:    And so, you are not a citizen of the

    3    United States; is that correct?

    4                   THE DEFENDANT:     Yes, your Honor.

    5                   THE COURT:    And what country are you a citizen of?

    6                   THE DEFENDANT:     India.

    7                   THE COURT:    And do you understand that as a result

    8    of this guilty plea and you being convicted of a felony that

    9    you will more than likely be deported; do you understand that?

   10                   THE DEFENDANT:     Yes, your Honor.

   11                   THE COURT:    And I have no control over that,

   12    whether you're deported or not deported, you understand that?

   13                   THE DEFENDANT:     Yes, your Honor.

   14                   THE COURT:    And so, do you also understand that

   15    there are some additional consequences from pleading guilty to

   16    a felony; such as, not being able to possess a firearm, not

   17    being able to hold certain positions or offices, not being able

   18    to get certain licenses, or things like that.              You understand

   19    that having a criminal conviction has those consequences?

   20                   THE DEFENDANT:     Yes, your Honor.

   21                   THE COURT:    Okay.   And do you also understand that

   22    not only will this affect your deportation, but also you will

   23    have, you may not ever be able to come back into the United

   24    States; do you understand that?

   25                   THE DEFENDANT:     Yes, your Honor.
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    1                    THE COURT:    And so, are you presently on probation

    2     or parole on any cases or do you have anything else pending

    3     right now?

    4                    THE DEFENDANT:     No, your Honor.

    5                    THE COURT:    Okay.   And so, I don't really know

    6     what I'm going to do at the time of sentencing on your case,

    7     but one of the things I will be looking at are the sentencing

    8     guidelines.

    9                    And have they been computed in this case involving

   10     Mr. Kandala?

   11                    MR. MCDONALD:     Yes, your Honor.     We've

   12     preliminarily calculated them at 33 to 41 months.

   13                    THE COURT:    Okay.

   14                    MR. ZEINEH:     Your Honor, I expect that we are

   15     going to dispute that calculation.           Our calculation is

   16     preliminary as well between 12 to 18 or 15 to 21.

   17                    THE COURT:    Okay.   Okay.

   18                    So, Mr. Kandala, I don't -- I'm not sure what the

   19     guidelines are, but the government, Mr. McDonald believes they

   20     are a certain number of months; your lawyer thinks it's a

   21     different number, and at the time of sentencing I'm going to

   22     decide who's right, so to speak, with regard to the guidelines,

   23     you understand that?

   24                    THE DEFENDANT:     Yes, sir.

   25                    THE COURT:    Okay.   And in addition to the
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    1     sentencing guidelines I'm going to have a presentence report.

    2     That is a report that's going to be prepared that goes into

    3     your background and history, your schooling, your military

    4     history, if you have that.       It will be a thorough report on

    5     your background and your history; do you understand that?

    6                   THE DEFENDANT:     Yes, your Honor.

    7                   THE COURT:     And so, there's also some laws that I

    8     have to look at in terms of sentencing that kind of guide my

    9     decision in the case; do you understand that?

   10                   THE DEFENDANT:     Yes, your Honor.

   11                   THE COURT:     And I know your attorney has talked

   12     with you about your constitutional rights in this case, but I'm

   13     required to go over them again with you here in court.

   14                   So you had previously entered a not guilty plea or

   15     one has been entered for you; do you understand that?

   16                   THE DEFENDANT:     Yes, sir.

   17                   THE COURT:     And you don't have to change your plea

   18     and plead guilty, you understand that?

   19                   THE DEFENDANT:     Yes, sir.

   20                   THE COURT:     And you could have a trial on the case

   21     and your trial could be either by jury or you could have a

   22     trial by judge, if the government and I agreed to it, you

   23     understand that?

   24                   THE DEFENDANT:     Yes, your Honor.

   25                   THE COURT:     And then at a trial you'd have the
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    1     right to be presumed innocent and the government would have to

    2     prove you guilty beyond a reasonable doubt; do you understand

    3     that?

    4                   THE DEFENDANT:     Yes, your Honor.

    5                   THE COURT:     And then also at a trial the

    6     government would have to bring in witnesses to testify against

    7     you and your attorney could question and cross-examine those

    8     witnesses, you understand that?

    9                   THE DEFENDANT:     Yes, your Honor.

   10                   THE COURT:     And then, your attorney actually could

   11     do all of the things that lawyers normally do during trials; do

   12     you also understand that?

   13                   THE DEFENDANT:     Yes, your Honor.

   14                   THE COURT:     All right.      And at a trial you could

   15     testify if you wanted to and tell your side of the story, or

   16     you could not testify, and if you decided not to testify, it

   17     couldn't be used against you in any way; do you understand

   18     that?

   19                   THE DEFENDANT:     Yes, sir.

   20                   THE COURT:     Additionally, if you wanted to call

   21     witnesses and present a defense or have witnesses testify for

   22     you, I would help you bring in witnesses with subpoenas; do you

   23     understand that?

   24                   THE DEFENDANT:     Yes, your Honor.

   25                   THE COURT:      And so is it pretty clear to you, Mr.
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    1     Kandala, that by entering this plea of guilty you will stand

    2     convicted of this charge and there will be no trial on your

    3     case; do you understand is that?

    4                    THE DEFENDANT:     Yes, sir.

    5                    THE COURT:    All right, then, the indictment

    6     charges you with conspiracy to commit visa fraud and to harbor

    7     aliens for profit, that's the charge.

    8                    And it looks like the activity went from February

    9     of '17 through January of '19, and it had something to do with

   10     you helping people to remain in the country or come into the

   11     country under the guise of being students at the University of

   12     Farmington.

   13                    And I think what I'm going to do is have Mr.

   14     McDonald or your attorney ask the questions to establish the

   15     factual basis.

   16                    MR. MCDONALD:     Thank you, your Honor.        I think Mr.

   17     Zeineh is going to offer some questions to establish the

   18     factual basis.

   19                    THE COURT:    Okay.   All right, Mr. Zeineh.

   20                    MR. ZEINEH:     Thank you, your Honor, for the

   21     opportunity.

   22                    Some of these questions may seem redundant, but

   23     we're going to ask them, okay?

   24                    THE DEFENDANT:     Okay.

   25                    MR. ZEINEH:     Again, you're not a citizen of the
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    1     United States, correct?

    2                   THE DEFENDANT:     Yes, sir.

    3                   MR. ZEINEH:     You're a citizen of India?

    4                   THE DEFENDANT:     Yes, sir.

    5                   MR. ZEINEH:     Now you came to the United States in

    6     2014, correct?

    7                   THE DEFENDANT:     Yes, sir.

    8                   MR. ZEINEH:     And you came to the United States of

    9     America on what's called a F-1 student visa?

   10                   THE DEFENDANT:     Yes, sir.

   11                   MR. ZEINEH:     In obtaining the F-1 student visa

   12     your arrival to the United States was for the purpose to attend

   13     a university, correct?

   14                   THE DEFENDANT:     Yes, sir.

   15                   MR. ZEINEH:     You initially came to Gannon

   16     University?

   17                   THE DEFENDANT:     Yes, sir.

   18                   MR. ZEINEH:     That would be Philadelphia, correct?

   19                   THE DEFENDANT:     Yes, sir.

   20                   MR. ZEINEH:     But it was too cold in Philadelphia

   21     so you transferred to California?

   22                   THE DEFENDANT:     Yes, sir.

   23                   MR. ZEINEH:     All right.     Were you transferred to a

   24     university called Northwestern Polytechnic University?

   25                   THE DEFENDANT:     Yes, sir.
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    1                   MR. ZEINEH:     That's in California, again?

    2                   THE DEFENDANT:     Yes, sir.

    3                   MR. ZEINEH:     And at that time you knew that a

    4     foreign student, as a foreign student your status was only

    5     valid if you are enrolled as a full-time student?

    6                   THE DEFENDANT:     Yes, sir.

    7                   MR. ZEINEH:     And in that enrollment you were

    8     making progress toward completion of a full course of study?

    9                   THE DEFENDANT:     Yes, sir.

   10                   MR. ZEINEH:     You're familiar with what's called a

   11     I-20, correct?

   12                   THE DEFENDANT:     Yes, sir.

   13                   MR. ZEINEH:     You agree and you knew and know that

   14     an I-20 allows you to apply for that F-1 student visa?

   15                   THE DEFENDANT:     Yes, sir.

   16                   MR. ZEINEH:     That's your proof that you have a

   17     legal academic status, correct?

   18                   THE DEFENDANT:     Yes, sir.

   19                   MR. ZEINEH:     It can be used as an entry document

   20     if you travel back to India or other places in the world?

   21                   THE DEFENDANT:     Yes, sir.

   22                   MR. ZEINEH:     That means you can come back to the

   23     United States with that I-20?

   24                   THE DEFENDANT:     Yes.

   25                   MR. ZEINEH:     It allows other students, yourself
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    1     and other students to participate in what's called practical

    2     training, right?

    3                   THE DEFENDANT:     Yes, sir.

    4                   MR. ZEINEH:     The document's obtained also when you

    5     transfer from school to school, agreed?

    6                   THE DEFENDANT:     Yes, sir.

    7                   MR. ZEINEH:     That I-20 allows you to stay in the

    8     United States as a lawful student?

    9                   THE DEFENDANT:     Yes, sir.

   10                   MR. ZEINEH:     You at some point had transferred to

   11     the University of Farmington, agreed?

   12                   THE DEFENDANT:     Yes, sir.

   13                   MR. ZEINEH:     And that was around, on or about

   14     March of 2017?

   15                   THE DEFENDANT:     Yes.

   16                   MR. ZEINEH:     And you knew at the time that you

   17     transferred to the University of Farmington you weren't

   18     attending classes?

   19                   THE DEFENDANT:     Yes, sir.

   20                   MR. ZEINEH:     All right.

   21                   And, in fact, you never attended any classes at

   22     the University of Farmington, agreed?

   23                   THE DEFENDANT:     Yes, sir.

   24                   MR. ZEINEH:     Never took any steps in furtherance

   25     of a specific course of study, agreed?
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    1                   THE DEFENDANT:     Yes, sir.

    2                   MR. ZEINEH:     You knew that that arrangement

    3     between you and the University of Farmington was not something

    4     approved by the Department of Homeland Security?

    5                   THE DEFENDANT:     Yes, sir.

    6                   MR. ZEINEH:     You knew, in fact, that was illegal,

    7     right?

    8                   THE DEFENDANT:     Yes, sir.

    9                   MR. ZEINEH:     In violation of the rules?

   10                   THE DEFENDANT:     Yes, sir.

   11                   MR. ZEINEH:     And you transferred to the University

   12     of Farmington solely for maintaining the F-1 status?

   13                   THE DEFENDANT:     Yes, sir.

   14                   MR. ZEINEH:     Now, you know an individual by the

   15     name of Santosh Sama, correct?

   16                   THE DEFENDANT:     Yes, sir.

   17                   MR. ZEINEH:     Now Santosh is another named

   18     defendant on your indictment?

   19                   THE DEFENDANT:     Yes, sir.

   20                   MR. ZEINEH:     You enrolled in the University of

   21     Farmington again to keep that I-20?

   22                   THE DEFENDANT:     Yes, sir.

   23                   MR. ZEINEH:     You wanted to keep your status?

   24                   THE DEFENDANT:     Yes, sir.

   25                   MR. ZEINEH:     Santosh referred you to the
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    1     University of Farmington?

    2                    THE DEFENDANT:    Yes, sir.

    3                    MR. ZEINEH:    And you knew that Sama Santosh, or

    4     Santosh Sama was referring other individuals to the University

    5     of Farmington, correct?

    6                    THE DEFENDANT:    Yes, sir.

    7                    MR. ZEINEH:    And those other individuals were also

    8     illegally obtaining I-20's, correct?

    9                    THE DEFENDANT:    Yes, sir.

   10                    MR. ZEINEH:    And those individuals that Sama in

   11     fact referred to the University of Farmington, in fact, did get

   12     the I-20's?

   13                    THE DEFENDANT:    I'm not sure what, but maybe get,

   14     they would get the I-20's.

   15                    THE COURT:     Okay.   Speak a little louder so I can

   16     hear you.     I could barely hear your response.

   17                    MR. ZEINEH:    I am going to rephrase that question,

   18     your Honor.

   19                    THE COURT:    Okay.

   20                    MR. ZEINEH:    The referral to the students to the

   21     University of Farmington, those were students who were in a

   22     similar situation as you, correct?

   23                    THE DEFENDANT:    Yes, sir.

   24                    MR. ZEINEH:    They were foreign students?

   25                    THE DEFENDANT:    Yes, sir.
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    1                   MR. ZEINEH:     For whatever reason, or occurrence,

    2     needed to attend a university, correct?

    3                   THE DEFENDANT:     Yes, sir.

    4                   MR. ZEINEH:     And they were referred to the

    5     University of Farmington?

    6                   THE DEFENDANT:     Yes, sir.

    7                   MR. ZEINEH:     All right.     They were referred to the

    8     University of Farmington for enrollment?

    9                   THE DEFENDANT:     Yes, sir.

   10                   MR. ZEINEH:     And as part of that enrollment, they

   11     would get their I-20's?

   12                   THE DEFENDANT:     Yes, sir.

   13                   MR. ZEINEH:     That's what you knew?

   14                   THE DEFENDANT:     Yes, sir.

   15                   MR. ZEINEH:     And as a result of getting their

   16     I-20's, they could stay in the United States?

   17                   THE DEFENDANT:     Yes, sir.

   18                   MR. ZEINEH:     And they could stay in the United

   19     States undetected by the government, correct?

   20                   THE DEFENDANT:     Yes, sir.

   21                   MR. ZEINEH:     Illegally stay in the United States,

   22     you would agree?

   23                   THE DEFENDANT:     Yes, sir.

   24                   MR. ZEINEH:     And in furtherance of that objective,

   25     you agree that on or about January of 22nd, 2018 you and
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                                                                                    20


    1     Defendant Number 5, Santosh Sama, met with undercover agents at

    2     the University of Farmington?

    3                   THE DEFENDANT:     Yes, sir.

    4                   MR. ZEINEH:     And the purpose of that meeting was

    5     for receiving payment, or referral fees, essentially?

    6                   THE DEFENDANT:     Yes, sir.

    7                   MR. ZEINEH:     All right.     And it was an amount of

    8     $20,000 that you received that day?

    9                   THE DEFENDANT:     Yes, sir.

   10                   MR. ZEINEH:     All right.     And you helped count that

   11     money or you watched the money being counted?

   12                   THE DEFENDANT:     Yes, sir.

   13                   MR. ZEINEH:     And you would agree you took that

   14     money, that $20,000, and placed it in your pocket, correct?

   15                   THE DEFENDANT: Yes, sir.

   16                   MR. ZEINEH:     And you again know that $20,000

   17     represented the payment for the illegal referrals to the

   18     University of Farmington?

   19                   THE DEFENDANT:     Yes, sir.

   20                   MR. ZEINEH:     Okay.   Also, during the course of

   21     that meeting, and in furtherance of these objectives, you

   22     participated in a discussion with the undercover agent at the

   23     University of Farmington and Santosh Sama about referring

   24     students for services?

   25                   THE DEFENDANT:     Yes, sir.
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                                                                                    21


    1                    MR. ZEINEH:    And at that time there was a notebook

    2     that was passed between Santosh Sama and the undercover agent?

    3                    THE DEFENDANT:    Yes, sir.

    4                    MR. ZEINEH:    And in that notebook there contained

    5     a list of names, agreed?

    6                    THE DEFENDANT:    Yes.

    7                    MR. ZEINEH:    A lot of names, but you don't know

    8     exactly how many?

    9                    THE DEFENDANT:    Yes, sir.

   10                    MR. ZEINEH:    And, again, in furtherance of those

   11     initial objectives that we've stated, you again telephoned the

   12     University of Farmington on February 20th of the 2018, correct?

   13                    THE DEFENDANT:    Yes, sir.

   14                    MR. ZEINEH:    And that was at the direction of Mr.

   15     Sama?

   16                    THE DEFENDANT:    Yes, sir.

   17                    MR. ZEINEH:    And, in fact, Mr. Sama was in India

   18     at the time?

   19                    THE DEFENDANT:    Yes, sir.

   20                    MR. ZEINEH:    And he -- you knew he sent an e-mail

   21     to the University of Farmington?

   22                    THE DEFENDANT:    Yes, sir.

   23                    MR. ZEINEH:    And that e-mail was related to the

   24     enrollment of other students at the University of Farmington?

   25                    THE DEFENDANT:    Yes, sir.
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                                                                                    22


    1                   MR. ZEINEH:     Again, to illegally enroll with the

    2     I-20?

    3                   THE DEFENDANT:     Yes, sir.

    4                   MR. ZEINEH:     And as a result of him being in

    5     India, and followup being needed on the e-mail, you made that

    6     call to the University of Farmington?

    7                   THE DEFENDANT:     Yes, sir.

    8                   MR. ZEINEH:     You spoke with an undercover agent at

    9     that time?

   10                   THE DEFENDANT:     Yes, sir.

   11                   MR. ZEINEH:     And the purpose of that call was to

   12     check on the status of those names that he had e-mailed over to

   13     the University of Farmington?

   14                   THE DEFENDANT:     Yes, sir.

   15                   MR. ZEINEH:      And in doing so you knew those names

   16     represented other students that wanted to get the fraudulent

   17     I-20's.

   18                   THE DEFENDANT:     Yes, sir.

   19                   MR. ZEINEH:     All right.     And you asked about

   20     getting -- you had the conversation about enrolling those

   21     students?

   22                   THE DEFENDANT:     Yes, sir.

   23                   MR. ZEINEH:     And in response that undercover agent

   24     said you had to pick 50?

   25                   THE DEFENDANT:     Yes, sir.
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    1                   MR. ZEINEH:     Okay.

    2                   And the students, to the extend you have

    3     knowledge, those students that were on that list did, in fact,

    4     get the I-20's?

    5                   THE DEFENDANT:     Yes, sir.

    6                   MR. ZEINEH:     All right.

    7                   And as a result of receiving those I-20's, again,

    8     they got to stay in the United States undetected?

    9                   THE DEFENDANT:     Yes, sir.

   10                   MR. ZEINEH:     And during the course of that initial

   11     conversation on January, one of the conversations on January

   12     22, 2018 you became aware that others were, in fact, referring

   13     students to the University of Farmington?

   14                   THE DEFENDANT:     Yes, sir.

   15                   MR. ZEINEH:     You didn't know them, but you heard

   16     that discussion?

   17                   THE DEFENDANT:     Yes, sir.

   18                   MR. ZEINEH:     Okay.   You're aware that this conduct

   19     is illegal?

   20                   THE DEFENDANT:     Yes, sir.

   21                   MR. ZEINEH:     All right.

   22                   Now, we're going to get into some specifics.

   23     There was an indictment that we provided you, correct?

   24                   THE DEFENDANT:     Okay.

   25                   MR. ZEINEH:     You would agree -- you acknowledge
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                                                                                    24


    1     receiving a copy of the indictment?

    2                   THE DEFENDANT:     Yes, sir.

    3                   MR. ZEINEH:     And going over that indictment?

    4                   THE DEFENDANT:     Yes, sir.

    5                   MR. ZEINEH:     You agree with the count alleged

    6     against you in that indictment?

    7                   THE DEFENDANT:     Yes, sir.

    8                   MR. ZEINEH:      All right.     Do you agree that -- you

    9     agree you committed one or more of the overt acts described in

   10     the indictment?

   11                   THE DEFENDANT:     Yes, sir.

   12                   MR. ZEINEH:     All right.     Specifically, Count One

   13     is conspiracy to commit visa fraud and harbor aliens for

   14     profit, agreed?

   15                   THE DEFENDANT:     Yes, sir.

   16                   MR. ZEINEH:     And specifically and generally --

   17     specifically, excuse me, relating to the counts in the

   18     indictment, you voluntarily entered into this conspiracy,

   19     agreed?

   20                   THE DEFENDANT:     Yes, sir.

   21                   MR. ZEINEH:     And you knowingly enter into the

   22     conspiracy?

   23                   THE DEFENDANT:     Yes, sir.

   24                   MR. ZEINEH:     You also agreed through your own acts

   25     and the acts of Sama that you had knowingly obtained and
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    1     possessed, or others had knowingly obtained and possessed a

    2     fraudulent I-20?

    3                   THE DEFENDANT:     Yes, sir.

    4                   MR. ZEINEH:     And you know that aliens were able to

    5     remain in the United States in violation of law, correct?

    6                   THE DEFENDANT:     Yes, sir.

    7                   MR. ZEINEH:     And then you committed this offense

    8     for private financial gain?

    9                   THE DEFENDANT:     Yes, sir.

   10                   MR. ZEINEH:     I hopefully covered everything, your

   11     Honor.

   12                   MR. MCDONALD:     I have a couple more questions if I

   13     may?

   14                   THE COURT:     All right.

   15                   MR. MCDONALD:     When you transferred, Mr. Kandala,

   16     to the University of Farmington in March 2017, you did so by

   17     receiving an I-20 from that school?

   18                   THE DEFENDANT:     Yes, sir.

   19                   MR. MCDONALD:     And you also made a phone call at

   20     or around that time in March 2017 that you wanted simply to

   21     maintain your status in the United States and not attend

   22     classes?

   23                   THE DEFENDANT:     Yes, sir.

   24                   MR. MCDONALD:     I want to direct your attention to

   25     January 22nd, 2018, that's the date of this meeting you had
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    1     with Santosh and an undercover officer, that's Santosh Sama?

    2                   THE DEFENDANT:     Yes, sir.

    3                   MR. MCDONALD:     And you were obviously present on

    4     that day?

    5                   THE DEFENDANT:     Yes, sir.

    6                   MR. MCDONALD:     And, in fact, you showed up the

    7     following day on the 23rd again to meet with Santosh and the

    8     undercover officer?

    9                   THE DEFENDANT:     Yes, sir.

   10                   MR. MCDONALD:     Now, during this meeting there was,

   11     as your attorney said, you participated in a discussion between

   12     the undercover agent, Santosh Sama, and, obviously, you about

   13     what was going on at the University of Farmington, right?

   14                   THE DEFENDANT:     Yes, sir.

   15                   MR. MCDONALD:     And a topic came up at one point as

   16     to how much money Santosh Sama had received, remember that?

   17                   THE DEFENDANT:     Yes, sir.

   18                   MR. MCDONALD:     All right.

   19                   And Santosh Sama said that he pays you and others,

   20     correct?

   21                   THE DEFENDANT:     No, sir.     I'm not agree with that.

   22                   MR. MCDONALD:     The question is Santosh Sama during

   23     that meeting said that he pays you and other people?

   24                   THE DEFENDANT:     Santosh didn't say that to me like

   25     that.
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                                                                                    27


    1                   THE COURT REPORTER:       I'm sorry?

    2                   MR. ZEINEH:     Santosh said --

    3                   THE DEFENDANT:     Santosh didn't say it like that,

    4     sir, at that time.

    5                   MR. MCDONALD:     The answer to my question would be:

    6     No, he didn't say that?

    7                   MR. ZEINEH:     To the best of your recollection is

    8     that, no?

    9                   THE DEFENDANT:     Yes, sir.

   10                   MR. MCDONALD:     Do you recall saying on the video

   11     that you received money --

   12                   THE DEFENDANT:     Yes, sir.

   13                   MR. MCDONALD:     -- from Santosh?

   14                   THE DEFENDANT:     No.

   15                   MR. MCDONALD:     Do you recall saying on the video

   16     that you sent money to India?

   17                   THE DEFENDANT:     Yes, sir.

   18                   MR. MCDONALD:     Okay.

   19                   Now, during this discussion about the number of

   20     students, you knew that it was more, at least 100 students,

   21     correct, that had been referred?

   22                   THE DEFENDANT:     I'm not aware of that, sir, at

   23     that time.

   24                   MR. MCDONALD:     Well, if you watched the video back

   25     with you sitting there, would that refresh your memory at some
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    1     point?

    2                    THE DEFENDANT:    Maybe, sir.

    3                    MR. MCDONALD:    Okay.    So, if that video says

    4     that -- if on that video Santosh says he has recruited at least

    5     100 students, you wouldn't disagree with that?

    6                    THE DEFENDANT:    No.

    7                    MR. MCDONALD:    Okay.    You know Santosh pretty

    8     well, right?

    9                    THE DEFENDANT:    Yes, sir.

   10                    MR. MCDONALD:    He is your --

   11                    THE DEFENDANT:    Friend.

   12                    MR. MCDONALD:    Okay.    Is he also your cousin?

   13                    THE DEFENDANT:    No.

   14                    MR. MCDONALD:    Okay.    Are you related in any

   15     manner?

   16                    THE DEFENDANT:    No.    Just a friend.

   17                    MR. MCDONALD:    If he says you're his

   18     cousin/brother, do you know what that means?

   19                    THE DEFENDANT:    No.    I'm not his cousin/brother,

   20     sir.

   21                    MR. MCDONALD:    Okay.

   22                    Now, you also, again, you also contacted the

   23     university on February 20th, 2018, and the reason you did so

   24     was you were doing a favor for Santosh, correct?

   25                    THE DEFENDANT:    Yes, sir.
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    1                   MR. MCDONALD:     And you were told that the

    2     university could only admit 50 students?

    3                   THE DEFENDANT:     Yes.

    4                   MR. MCDONALD:     That you had to pick the names; you

    5     or Santosh had to pick the names, correct?

    6                   THE DEFENDANT:     Santosh, yes, had to pick the

    7     names, yes, sir.

    8                   MR. ZEINEH:     And when you found out it was only 50

    9     students, you expressed some concern that there are many other

   10     students that want to join, right?

   11                   THE DEFENDANT:     Yes, sir.

   12                   MR. MCDONALD:     You knew that all these students

   13     had been committing fraud, right?

   14                   THE DEFENDANT:     Yes, sir.

   15                   MR. MCDONALD:     By staying at the school?

   16                   THE DEFENDANT:     Yes, sir.

   17                   MR. MCDONALD:     And that if not for the school,

   18     they would be, have to go back to their home country, right?

   19                   THE DEFENDANT:     Yes, sir.

   20                   MR. MCDONALD:     Okay.     May I have one moment?

   21                   THE COURT:     All right.

   22                   MR. MCDONALD:     One more question, you -- this

   23     school -- the University of Farmington, that was in the Eastern

   24     District of Michigan -- I think there may be a stipulation from

   25     defense counsel that that is the case.
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    1                   MR. ZEINEH:     That is accurate, your Honor.          We'll

    2     stipulate.

    3                   THE COURT:     Okay.   All right, then.

    4                   MR. MCDONALD:     And on at least two occasions

    5     during the conspiracy you went and met with undercover agents

    6     as we discussed, at school, correct?

    7                   THE DEFENDANT:     Yes, sir.

    8                   MR. MCDONALD:     Your Honor, I'm satisfied at this

    9     point with the factual basis.

   10                   THE COURT:     Okay.   Mr. Zeineh -- let me just ask a

   11     couple questions, too.

   12                   Mr. Kandala, when did you come here into the

   13     country, to the United States?

   14                   THE DEFENDANT:     2014, December 28.

   15                   THE COURT:     Okay.   December of 2014?

   16                   THE DEFENDANT:     Yes, sir.

   17                   THE COURT:      Where did you live when you first got

   18     here?

   19                   THE DEFENDANT:     First one week I lived in

   20     Philadelphia, Erie.

   21                   THE COURT:     You have to speak a little slower and

   22     try to speak the English a little clearer.

   23                   THE DEFENDANT:     Sure, sir.

   24                   THE COURT:     Okay.   Where did you first live?

   25                   THE DEFENDANT:     Erie, Philadelphia.
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    1                   THE COURT:     In Erie, Philadelphia?

    2                   THE DEFENDANT:     Yes, sir.

    3                   THE COURT:     Okay.     Did you go to school there?

    4                   THE DEFENDANT:     I went one week, sir.

    5                   THE COURT:      Okay.     You went one week and then

    6     what happened?

    7                   THE DEFENDANT:     Like it's the climate is very

    8     cold.   Where I'm living in India it's very hot place, so I

    9     change it to California.

   10                   THE COURT:     Okay.     And so how long did you stay in

   11     California?

   12                   THE DEFENDANT:     More than one year, sir.          One year

   13     two months, like three months.

   14                   THE COURT:     Okay.     And when you transferred to

   15     California, what school were you attending at that point?

   16                   THE DEFENDANT:     Northwestern Polytechnic

   17     University.

   18                   THE COURT: Okay.        And where did you live when you

   19     were attending school there?

   20                   THE DEFENDANT:     In Fremont, California.

   21                   THE COURT:     Okay.     And so when did you meet

   22     Santosh Sama?

   23                   THE DEFENDANT:     In April 2015 in Fremont,

   24     California.

   25                   THE COURT:     Okay.     So you met him in California?
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    1                   THE DEFENDANT:     Yes, sir.

    2                   THE COURT:     And did he help you to come to the

    3     Detroit area, to the University of Farmington?

    4                   THE DEFENDANT:     Yes, sir.

    5                   THE COURT:     Okay.   And so you were also telling

    6     other students about the opportunity to come to University of

    7     Farmington and participate in this university that you really

    8     didn't go to classes or you didn't really do anything; is that

    9     right?

   10                   THE DEFENDANT:     I didn't talk to any students,

   11     sir.

   12                   THE COURT:     Okay.   You didn't talk to any

   13     students?

   14                   THE DEFENDANT:     No, sir.

   15                   THE COURT:     Okay.   How did you communicate and

   16     help recruit students?

   17                   THE DEFENDANT:     I didn't recruit anybody, sir.           I

   18     just helped Sama because he helped me to join the University.

   19     He's my friend, so at that time I communicated with them

   20     because he's in India.

   21                   THE COURT:     Okay.   How long did you know him?

   22                   THE DEFENDANT:     From February 2015 onwards I know

   23     him, sir.

   24                   THE COURT:     Okay.   Did you all become pretty good

   25     friends?
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    1                   Was he going to school with you, too, at --

    2                   THE DEFENDANT:     Yes.

    3                   THE COURT:     Okay.   All right.      Either side have

    4     any additional questions at all?

    5                   MR. MCDONALD:     I just have a couple questions just

    6     so the record is clear.

    7                   THE COURT:     All right.

    8                   MR. MCDONALD:     Mr. Kandala, you never moved to the

    9     Detroit, Michigan area, correct?

   10                   THE DEFENDANT:     No, sir.

   11                   MR. MCDONALD:     You lived in California at one

   12     point?

   13                   THE DEFENDANT:     Yeah.       At one point I lived in

   14     California.

   15                   MR. MCDONALD:     And at the time you were living in

   16     California you were actually roommates with Mr. Santosh Sama;

   17     is that right?

   18                   THE DEFENDANT:     Yes, sir.

   19                   MR. MCDONALD:     And then after leaving California

   20     where did you move to?

   21                   THE DEFENDANT:     I lived in Texas.         For two months

   22     after that I lived in New Jersey, and I went, again, I came

   23     back to the California.

   24                   THE COURT:     Okay.   You went to, from California

   25     you went to Texas?
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                                                                                    34


    1                   THE DEFENDANT:     Yes, sir.

    2                   THE COURT: And then from Texas you went to New

    3     Jersey?

    4                   THE DEFENDANT:     Yes, sir.

    5                   THE COURT:     Okay.   And then you went back to

    6     California?

    7                   THE DEFENDANT:     Yes, sir.

    8                   THE COURT:     And did you move anywhere else between

    9     being in California and now?

   10                   THE DEFENDANT:     Yes, sir.     In Virginia.

   11                   THE COURT:     You lived in Virginia, too?

   12                   THE DEFENDANT:     Yes, sir.

   13                   THE COURT:     Where in Virginia did you live?

   14                   THE DEFENDANT:     Near Fairfax, sir.

   15                   THE COURT:     Okay.   Did you live anywhere else

   16     before you were arrested on this case?

   17                   THE DEFENDANT:     Yes, sir.     In, near Michigan also

   18     I live one week.

   19                   THE COURT:     Okay.   Where in Michigan was it?

   20                   THE DEFENDANT:     Detroit, near Detroit.

   21                   THE COURT:     Dexter did you say?

   22                   THE DEFENDANT:     Detroit.

   23                   MR. ZEINEH:     Detroit, your Honor.

   24                   THE COURT:     Oh, Detroit.

   25                   MR. ZEINEH:     Near Detroit.
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    1                   THE COURT:     Okay.   All right.     I don't have

    2     anything else.

    3                   Are counsel satisfied with the factual basis at

    4     this point?

    5                   MR. ZEINEH:     Yes, your Honor.

    6                   MR. MCDONALD:     Yes, your Honor.

    7                   THE COURT:     And are counsel also satisfied that

    8     I've complied with Rule 11 in terms of taking the plea?

    9                   MR. ZEINEH:     Yes, your Honor.

   10                   MR. MCDONALD:     Yes, your Honor.

   11                   THE COURT:     All right.      Then the Court will find

   12     that the defendant is fully competent and capable of entering a

   13     plea, that he's aware of the nature of the charges and the

   14     consequences of the plea and that the plea of guilty is knowing

   15     and a voluntary plea supported by an independent factual basis

   16     as to each of the essential elements of the offense.

   17                   And so, I'm therefore going to accept the plea and

   18     I'm going to find the defendant guilty of the offense, and I'm

   19     going to refer the matter to the probation department for a

   20     presentence investigation and report and schedule the

   21     sentencing for?

   22                   THE CASE MANAGER:      September 5th, 2019 at 2:30.

   23                   THE COURT:     Okay.   All right.     Then, we'll be in

   24     recess on the case at this --

   25                   MR. MCDONALD:     Your Honor, I'm sorry.         I have two
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    1     more very quick matters if I may for the record?

    2                   THE COURT:      All right.

    3                   MR. MCDONALD:     As the indictment notes there is a

    4     forfeiture provision.      There has not been any bill of

    5     particulars filed in this particular case.           There may or may

    6     not be in the future, but I just want to make sure the

    7     defendant is on notice that any proceeds or money that he's

    8     received as a result of his criminal conduct could be subject

    9     to forfeiture.     That's the first matter.

   10                   THE COURT:     Okay.   Let me stop you right there,

   11     because I think I've got -- is this a bill of particulars that

   12     I have -- no.     Looks like it's for somebody else.

   13                   Okay.

   14                   MR. MCDONALD:     Thank you.

   15                   The second matter, and I referenced this earlier,

   16     that we had previously offered the defendant a Rule 11 that had

   17     a provision whereby we would agree not to appeal the sentence

   18     if the Court sentenced the defendant to at least 21 months.               I

   19     just want to make clear that that could be more favorable to

   20     him ultimately in the event the Court were to sentence him

   21     within the existing guidelines.        We believe they are properly

   22     calculated at 33 to 41 months.        I just want to make sure he

   23     understands that; he's talked to his lawyer about that, and he

   24     still wishes to proceed without the Rule 11.

   25                   THE COURT:     Okay.
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    1                   MR. ZEINEH:     I've talked to him.         I've explained

    2     it.   I explained the overall nature of the purpose of

    3     sentencing, the nature of sentencing, the effect of the Rule

    4     11, the consequence of not taking it or the consequences of

    5     taking it.    I believe there is additional facts and

    6     circumstances relevant to the, the appropriate sentencing.                I

    7     believe this is consistent with all the defendants in this case

    8     but I'll defer to it.      If I can voir dire for purposes of the

    9     record since it was brought up.

   10                   THE COURT:     Okay.   Sure.

   11                   MR. ZEINEH:     Mr. Kandala, you and I have met on

   12     several occasions, correct?

   13                   THE DEFENDANT:     Yes, sir.

   14                   MR. ZEINEH:     I've come to visit you in jail?

   15                   THE DEFENDANT:     Yes, sir.

   16                   MR. ZEINEH:     Now, during the course of those

   17     conversations, we reviewed what's called a Rule 11?

   18                   THE DEFENDANT:     Yes, sir.

   19                   MR. ZEINEH:     You know what that is, right?

   20                   THE DEFENDANT:     Yes, sir.

   21                   MR. ZEINEH:     You know what that is because I

   22     explained it to you?

   23                   THE DEFENDANT:     Yes, sir.

   24                   MR. ZEINEH:     I explained to you the benefits --

   25                   THE DEFENDANT:     Yes, sir.
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                                                                                      38


    1                   MR. ZEINEH:     -- of the Rule 11?

    2                   THE DEFENDANT:        Yes, sir.

    3                   MR. ZEINEH:     And the consequences of the Rule 11?

    4                   THE DEFENDANT:        Yes, sir.

    5                   MR. ZEINEH:     The difference between the taking the

    6     Rule 11 and not taking the Rule 11?

    7                   THE DEFENDANT:        Yes, sir.

    8                   MR. ZEINEH:     You understand the Rule 11?

    9                   THE DEFENDANT:        Yes, sir.

   10                   MR. ZEINEH:     You understand one was offered?

   11                   THE DEFENDANT:        Yes, sir.

   12                   MR. ZEINEH:     And you agree not to accept it?

   13                   THE DEFENDANT:        Yes, sir.

   14                   MR. ZEINEH:     You got any questions about the Rule

   15     11?

   16                   THE DEFENDANT:        No, sir.

   17                   MR. ZEINEH:     You're comfortable proceeding the way

   18     we did?

   19                   THE DEFENDANT: Yes, sir.

   20                   MR. MCDONALD:     Thank you, your Honor.

   21                   THE COURT:     All right.        Yeah, I'm satisfied that

   22     he understands the nature of the Rule 11 and has rejected it.

   23                   All right.     Anything else on this matter?

   24                   MR. ZEINEH:     No.

   25                   MR. MCDONALD:     Not from the government.           Thank
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                                                                                    39


    1     you.

    2                   MR. ZEINEH:     Thank you for your time, your Honor.

    3                   THE COURT:     We'll be in recess.

    4                   THE CASE MANAGER:      All rise.

    5                   Court is in recess.

    6             (At 11:39 a.m. proceedings concluded)

    7

    8                              C E R T I F I C A T E

    9                  I, Merilyn J. Jones, Official Court Reporter of the

   10     United States District Court, Eastern District of Michigan,

   11     appointed pursuant to the provisions of Title 28, United States

   12     Code, Section 753, do hereby certify that the foregoing pages

   13     1-39, inclusive, comprise a full, true and correct transcript

   14     taken in the matter of the United States of America versus

   15     Suresh Reddy Kandala, 19-cr-20026-2 on Wednesday, May 8, 2019.

   16

   17

   18                         /s/Merilyn J. Jones
                              Merilyn J. Jones, CSR, RPR
   19                         Federal Official Reporter
                              231 W. Lafayette Boulevard
   20                         Detroit, Michigan 48226

   21     Date: June 2, 2019

   22

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